                       Case 3:25-cv-01780-WHA                Document 1-3         Filed 02/19/25        Page 1 of 2

      AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Northern District
                                                      __________  District of
                                                                           of California
                                                                              __________
 AMERICAN FEDERATION OF GOVERNMENT EMPLOYEES,
 AFL-CIO; AMERICAN FEDERATION OF STATE COUNTY AND )
 MUNICIPAL EMPLOYEES, AFL-CIO; AFGE LOCAL 1216; and )
 UNITED NURSES ASSOCIATIONS OF CALIFORNIA/UNION OF )
 HEALTH CARE PROFESSIONALS, AFSCME, AFL-CIO,
                                                                  )
                              Plaintiff(s)                        )
                                                                  )
                                  v.                                          Civil Action No.
                                                                  )
UNITED STATES OFFICE OF PERSONNEL MANAGEMENT and
                                                                  )
CHARLES EZELL, in his official capacity as Acting Director of the )
U.S. Office of Personnel Management,                              )
                                                                  )
                             Defendant(s)                         )

                                                      SUMMONS IN A CIVIL ACTION

      To: (Defendant’s name and address)
     CHARLES EZELL, in his official capacity as Acting Director of the U.S. Office of Personnel Management,
     U.S. Office of Personnel Management
     1900 E Street, NW
     Washington, DC 20415-1000


                A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
      are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
      P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
      the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
      whose name and address are:
              Eileen B. Goldsmith (SBN 218029)
              ALTSHULER BERZON LLP
              177 Post Street, Suite 300
              San Francisco, CA 94108
              Tel. (415) 421-7151
              egoldsmith@altber.com
             If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


      Date:
                                                                                           Signature of Clerk or Deputy Clerk
                   Case 3:25-cv-01780-WHA                    Document 1-3         Filed 02/19/25            Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:
